     Case 2:22-cv-02015-CSK          Document 66-1            Filed 01/13/25     Page 1 of 29


 1   ROB BONTA, State Bar No. 202668
     Attorney General of California
 2   JOANNA B. HOOD, State Bar No. 264078
     Supervising Deputy Attorney General
 3   PATRICIA M. KEALY, State Bar No. 348201
     Deputy Attorney General
 4    1300 I Street, Suite 125
      P.O. Box 944255
 5    Sacramento, CA 94244-2550
      Telephone: (916) 210-7366
 6    Fax: (916) 324-5205
      E-mail: Patricia.Kealy@doj.ca.gov
 7   Attorneys for Defendant N. West

 8                             IN THE UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10                                        SACRAMENTO DIVISION
11

12
     MELVIN PARKER,                                          2:22-cv-02015-CSK (PC)
13
                                              Plaintiff, MEMORANDUM OF POINTS AND
14                                                       AUTHORITIES IN SUPPORT OF
                    v.                                   DEFENDANT’S RENEWED MOTION
15                                                       TO COMPEL COMPLIANCE WITH
                                                         DEPOSITION SUBPOENA;
16   N. WEST,                                            DECLARATION OF COUNSEL
17                                          Defendant. Judge:        The Honorable Chi Soo Kim
                                                       Trial Date:   Not Set
18                                                     Action Filed: November 7, 2022
19

20                                            INTRODUCTION

21         Plaintiff Melvin Parker is an incarcerated individual proceeding pro se in this civil rights

22   action against Defendant West. (See ECF Nos. 18, 24.) The deposition testimony of Durrell

23   Puckett (CDCR No. G05549), an incarcerated individual, is essential to litigating this case and

24   necessary to fully assess the viability and completion of a dispositive motion in this case. In

25   compliance with the issued Discovery and Scheduling Order (ECF No. 55) and Federal Rule of

26   Civil Procedure 45, Defendant properly noticed and subpoenaed the deposition of Mr. Puckett to

27   take place on October 14, 2024, but Mr. Puckett refused to appear.

28
                                                         1
             Mem. of P. & A. in Supp. of Def.’s & Renewed Mot. to Compel Compliance with Dep. Subpoena; Decl. of
                                                                             Counsel (2:22-cv-02015-CSK (PC))
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 1         Defendant now seeks to compel Mr. Puckett’s compliance to attend and participate in a

 2   deposition under Federal Rules of Civil Procedure 30(a)(1), 37(a)(3), and 45. Further, Mr. Puckett

 3   should be cautioned that further refusal to appear and participate in a deposition may result in the

 4   imposition of sanctions.

 5                                        STATEMENT OF FACTS

 6         On September 16, 2024, Defendant filed a motion to modify the Discovery and Scheduling

 7   Order to continue this matter’s deadlines and reopen discovery, which the Court subsequently

 8   granted on September 18, 2024. (ECF Nos. 59, 60.) Subject to this modification, Defendant had

 9   until October 31, 2024, to depose incarcerated witness Durrell Puckett, and until November 20,

10   2024, to file a dispositive motion. (ECF No. 60 at 2.)

11         Defense counsel coordinated with Plaintiff and Mr. Puckett’s respective institutions to

12   determine a date and time for the remote deposition of Mr. Puckett to take place and for Plaintiff

13   to have the opportunity to attend. (Declaration of Patricia M. Kealy (Kealy Decl.) 4 5.) Following

14   this coordination, Defendant appropriately noticed and subpoenaed Mr. Puckett’s deposition on

15   September 30, 2024, setting the deposition to take place on October 14, 2024. (Id. at ¶ 5, Ex. A.)

16   The notice provided that Defendant would take Mr. Puckett’s deposition by video conference at

17   his current institution, California State Prison – Corcoran (CSP – Corcoran). (Id.) Plaintiff was

18   also sent a copy of the deposition notice. (Id. at ¶ 6, Ex. B.) In the days leading up to the

19   deposition, no objections were served. (Id. at ¶ 7.)

20         On October 14, 2024, defense counsel, Plaintiff, a certified court reporter, and

21   videographer, appeared via video conference for Mr. Puckett’s deposition from CSP – Corcoran.

22   (Kealy Decl. ¶ 8.) However, Mr. Puckett refused to appear for this deposition. (Id. at ¶¶ 8-11,

23   Exs. C, D.)

24         On October 31, 2024, Defendant filed a motion to compel Mr. Puckett’s compliance to

25   attend and participate in a deposition and motion to modify the Discovery and Scheduling Order.

26   (ECF No. 61.) Defendant files this renewed motion to compel in accordance with the Court’s

27   December 28, 2024 order. (See ECF No. 63.)

28   ///
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             Mem. of P. & A. in Supp. of Def.’s & Renewed Mot. to Compel Compliance with Dep. Subpoena; Decl. of
                                                                             Counsel (2:22-cv-02015-CSK (PC))
     Case 2:22-cv-02015-CSK          Document 66-1          Filed 01/13/25       Page 3 of 29


 1                                                   ARGUMENT

 2   I.    THE COURT SHOULD COMPEL INCARCERATED WITNESS PUCKETT’S ATTENDANCE
           AND PARTICIPATION IN A DEPOSITION.
 3

 4         Broad discretion is vested in the trial court to permit or deny discovery. Hallet v. Morgan,

 5   296 F.3d 732, 751 (9th Cir. 2002). On notice to other parties and all affected persons, a party may

 6   move for an order compelling disclosure or discovery. Fed. R. Civ. P. 37(a)(1). Federal Rules of

 7   Civil Procedure 26 and 30 work in tandem to allow parties to depose any person, including non-

 8   parties, “regarding any nonprivileged matter that is relevant to any party’s claim or defense and

 9   proportional to the needs of the case[.]” Fed. R. Civ. P. 26(b)(1), 30(a)(1). This includes

10   compelling a deponent, regardless of whether the deponent is a party or non-party, to sit for their

11   deposition. Fed. R. Civ. P. 37(a)(3)(B)(i); 45(a)(1)(A), (B); Sali v. Corona Reg’l Med. Ctr., 884

12   F.3d 1218, 1223 (9th Cir. 2018). Accordingly, discovery orders directing non-parties to appear at

13   depositions are within the scope of a court’s Rule 37 powers. Sali, 884 F.3d at 1223.

14         Additionally, under Rule 45, subpoenas issued by attorneys on behalf of the Court are

15   treated as court orders. Pennwalt Corp. v. Durand-Wayland, Inc., 708 F.2d 492, 494 & n. 5 (9th

16   Cir. 1983). Failure to comply without adequate excuse may subject the non-party deponent to

17   contempt. Fed. R. Civ. P. 37(b)(1); 45(g); Pennwalt, 708 F.2d at 494. Objections to subpoenas

18   must be served before the earlier of the time specified for compliance or fourteen days after the

19   subpoena is served. Fed. R. Civ. P. 45(d)(2)(B). Failure to serve timely objections waives all

20   grounds for objections. McCoy v. Sw. Airlines Co., 211 F.R.D. 381, 385 (C.D. Cal. 2002).

21         The Court should issue an order compelling Mr. Puckett to sit for his deposition. Mr.

22   Puckett’s deposition was properly noticed and subpoenaed, and neither he nor Plaintiff objected

23   to the deposition. (Kealy Decl. ¶¶ 5-7, Exs. A, B.) Yet, on the date of the deposition, Mr. Puckett

24   refused to attend his deposition, stating, “No, I’m good.” (Id. at ¶¶ 8-11, Exs. C, D.)

25         Defendant will be prejudiced without Mr. Puckett’s testimony given its relevance to this

26   suit. Mr. Puckett has been criminally charged in Sacramento County Superior Court (Case No.

27   20FE002269) with the attempted murder of Plaintiff on October 31, 2019. (Kealy Decl. ¶ 12.)

28   Plaintiff alleges that Defendant bribed and facilitated Mr. Puckett’s attempted murder of Plaintiff
                                                       3
             Mem. of P. & A. in Supp. of Def.’s & Renewed Mot. to Compel Compliance with Dep. Subpoena; Decl. of
                                                                             Counsel (2:22-cv-02015-CSK (PC))
     Case 2:22-cv-02015-CSK          Document 66-1           Filed 01/13/25      Page 4 of 29


 1   on that date. (ECF No. 18 at 1, 6.) Therefore, Mr. Puckett’s deposition testimony is relevant as the

 2   primary witness to the events of October 31, 2019. Furthermore, Mr. Puckett’s testimony is

 3   relevant because information that Mr. Puckett allegedly conveyed to Plaintiff formed the basis for

 4   Plaintiff’s allegations against Defendant. (Kealy Decl. ¶ 13.) Denying Defendant access to

 5   Plaintiff’s testimony hinders his defense and limits his understanding of Plaintiff’s allegations and

 6   supporting evidence. (Id. at ¶ 14.) Mr. Puckett’s testimony, therefore, should be compelled.

 7   II.   DEFENDANT DOES NOT SEEK CONTEMPT SANCTIONS AGAINST INCARCERATED
           WITNESS PUCKETT.
 8

 9         Non-party deponents may be held in contempt for failing to obey a subpoena without

10   adequate excuse. Fed. R. Civ. P. 37(b)(1); 45(g); Pennwalt, 708 F.2d at 494. For contempt

11   proceedings, however, a notice and hearing, accompanied by live testimony by the subpoenaed

12   witness, is required. Pennwalt, 708 F.2d at 495. Here, Defendant does not seek contempt

13   sanctions – at this time – because they will not adequately resolve this matter. Mr. Puckett is an

14   indigent inmate, and punishing him with monetary sanctions is fruitless. Additionally, instigating

15   full, formal civil contempt proceedings will cost the defense time and resources to prepare for,

16   attend, and adjudicate Mr. Puckett’s contemptuous conduct. Pennwalt, 708 F.2d at 495 (a civil

17   contempt proceeding is a “trial” within the meaning of Federal Rule of Civil Procedure 43(a).)

18   Likewise, the Court will have to expend scarce judicial resources to secure Plaintiff’s and Mr.

19   Puckett’s appearance in the courtroom in order to conduct this trial. Contempt proceedings and

20   sanctions do not outweigh the value of simply compelling Mr. Puckett’s appearance at a

21   deposition. If Mr. Puckett disobeys another deposition subpoena and court order, Defendant will

22   move to exclude his testimony and other appropriate sanctions.

23   ///

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                                                         4
             Mem. of P. & A. in Supp. of Def.’s & Renewed Mot. to Compel Compliance with Dep. Subpoena; Decl. of
                                                                             Counsel (2:22-cv-02015-CSK (PC))
     Case 2:22-cv-02015-CSK          Document 66-1           Filed 01/13/25      Page 5 of 29


 1                                              CONCLUSION

 2        Since Mr. Puckett failed to appear for a properly noticed and subpoenaed deposition on

 3   October 14, 2024, the Court should issue an order compelling compliance.

 4   Dated: January 13, 2025                                 Respectfully submitted,
 5                                                           ROB BONTA
                                                             Attorney General of California
 6                                                           JOANNA B. HOOD
                                                             Supervising Deputy Attorney General
 7
                                                             /s/ Patricia M. Kealy
 8
                                                             PATRICIA M. KEALY
 9                                                           Deputy Attorney General
                                                             Attorneys for Defendant N. West
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             Mem. of P. & A. in Supp. of Def.’s & Renewed Mot. to Compel Compliance with Dep. Subpoena; Decl. of
                                                                             Counsel (2:22-cv-02015-CSK (PC))
     Case 2:22-cv-02015-CSK             Document 66-1           Filed 01/13/25      Page 6 of 29


 1                                   DECLARATION OF PATRICIA M. KEALY

 2         I, Patricia M. Kealy, declare:

 3         1.      I am an attorney licensed to practice in this Court and all courts in the State of

 4   California. I am employed as a Deputy Attorney General in the Correctional Law Section in the

 5   Sacramento Attorney General’s Office (AGO).

 6         2.      I represent Defendant West in this matter.

 7         3.      On September 16, 2024, Defendant filed a motion to modify the Discovery and

 8   Scheduling Order to continue this matter’s deadlines and reopen discovery, which the Court

 9   subsequently granted. (ECF Nos. 59, 60.) Subject to this modification, Defendant had until

10   October 31, 2024, to depose incarcerated witness Durrell Puckett (CDCR No. G05549) and until

11   November 20, 2024, to file a dispositive motion. (Id. at 2.)

12         4.      In adherence with this modification, I coordinated with Plaintiff and Mr. Puckett’s

13   respective institutions, California Health Care Facility (CHCF) and California State Prison –

14   Corcoran (CSP – Corcoran), to determine a date and time for the remote deposition of Mr.

15   Puckett to take place and for Plaintiff to have the opportunity to attend.

16         5.      On September 30, 2024, Defendant noticed and subpoenaed Mr. Puckett’s deposition,

17   setting the deposition to take place on October 14, 2024. A true and correct copy of the deposition

18   notice, subpoena, explanatory letter to Mr. Puckett, and certification of service is attached to this

19   declaration as Exhibit A.

20         6.      Plaintiff was sent a copy of the deposition notice for Mr. Puckett’s deposition. A true

21   and correct copy of the certification of service is attached as Exhibit B.

22         7.      Prior to the October 14, 2024 scheduled deposition of Mr. Puckett, neither Mr.

23   Puckett nor Plaintiff served objections.

24         8.      On October 14, 2024, at 8:55 a.m., Plaintiff, a certified court reporter, videographer,

25   and I appeared remotely for Mr. Puckett’s deposition from CSP – Corcoran. Mr. Puckett did not

26   appear.

27   ///

28   ///
                                                            6
                Mem. of P. & A. in Supp. of Def.’s & Renewed Mot. to Compel Compliance with Dep. Subpoena; Decl. of
                                                                                Counsel (2:22-cv-02015-CSK (PC))
     Case 2:22-cv-02015-CSK             Document 66-1          Filed 01/13/25       Page 7 of 29


 1         9.      At approximately 9:10 a.m., I received an email from the CSP – Corcoran Litigation

 2   Coordinator informing me that Plaintiff had refused to leave his cell to participate in the

 3   deposition.

 4         10.     A CDC 128-B form was written by Correctional Sergeant E. Garcia immediately

 5   following his discussion with Mr. Puckett in which he communicated his refusal to attend the

 6   deposition. A true and correct copy of the CDC 128-B is attached to this declaration as Exhibit

 7   C.

 8         11.     A true and correct copy of the transcript of proceedings regarding Mr. Puckett’s

 9   nonappearance at the October 14, 2024 deposition is attached as Exhibit D.

10         12.     Durrell Puckett has been criminally charged in Sacramento County Superior Court

11   (Case No. 20FE002269) with the attempted murder of Plaintiff on October 31, 2019.

12         13.     Following the deposition of Plaintiff in this matter, the extent to which information

13   Mr. Puckett allegedly conveyed to Plaintiff formed the basis for this suit was abundantly clear.

14         14.     Mr. Puckett’s testimony is necessary in order to fully understand and respond to

15   Plaintiff’s allegations and supporting evidence. Mr. Puckett’s refusal to appear and participate in

16   his deposition stalled Defendant’s ability to thoroughly gather and assess his testimony as the

17   primary witness to the events of October 31, 2019.

18         15.     Therefore, on October 31, 2024, Defendant filed a motion to compel Mr. Puckett’s

19   compliance to attend and participate in a deposition and motion to modify the Discovery and

20   Scheduling Order. (ECF No. 61.)

21         16.     On December 28, 2024, the Court ordered Defendant to file a renewed motion to

22   compel “accompanied by a certificate of service attesting to service on nonparty witness Durrell

23   Puckett.” (ECF No. 63 at 4.) This Motion is filed in accordance with the Court’s order.

24         17.     I have remained in contact with Mr. Puckett and Plaintiff’s respective institutions in

25   order to determine a date and time for Mr. Puckett’s second remote deposition to be conducted, at

26   which Plaintiff will have the opportunity to attend.

27         18.     Given these circumstances, Defendant believes good cause exists for the Court to

28   compel Mr. Puckett to comply with the subpoena for his deposition.
                                                  7
                Mem. of P. & A. in Supp. of Def.’s & Renewed Mot. to Compel Compliance with Dep. Subpoena; Decl. of
                                                                                Counsel (2:22-cv-02015-CSK (PC))
     Case 2:22-cv-02015-CSK          Document 66-1            Filed 01/13/25     Page 8 of 29


 1         19.   This Motion is not brought for any improper purpose or to delay or harass Plaintiff in

 2   his prosecution of this action. I do not believe that this request will significantly impact the

 3   progress of this case or unfairly prejudice Plaintiff.

 4         20.   Plaintiff’s incarceration status makes same-day delivery and immediate notice of

 5   Defendant’s Motion impracticable, I am mailing him a copy of the Notice of Motion and Motion,

 6   Memorandum of Points and Authorities, and this Declaration with attached exhibits via First

 7   Class U.S. Mail.

 8         21.   Non-party witness Durrell Puckett is also being served a copy of the Notice of Motion

 9   and Motion, Memorandum of Points and Authorities, and this Declaration with attached exhibits

10   via First Class U.S. Mail.

11         I declare under penalty of perjury that the preceding is true.

12         Dated: January 13, 2025                              /s/ Patricia M. Kealy
                                                                Patricia M. Kealy
13                                                              Deputy Attorney General
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             Mem. of P. & A. in Supp. of Def.’s & Renewed Mot. to Compel Compliance with Dep. Subpoena; Decl. of
                                                                             Counsel (2:22-cv-02015-CSK (PC))
Case 2:22-cv-02015-CSK   Document 66-1   Filed 01/13/25   Page 9 of 29




                     EXHIBIT A
      Case 2:22-cv-02015-CSK         Document 66-1         Filed 01/13/25     Page 10 of 29
        CALIFORNIA
                                                                                               Rob Bonta
        DEPARTMENT or JUSTICE                                                             Attorney General

                                                                                    1300 I STREET, SUITE 125
                                                                                             P.O. BOX 944255
                                                                                 SACRAMENTO, CA 94244-2550

                                                                                       Public: (916) 445-9555
                                                                                   Telephone: (916) 210-7366
                                                                                    Facsimile: (916) 324-5205
                                                                            E-Mail: Patricia.Kealy@doj.ca.gov
                                       September 30, 2024

Durrell Puckett (CDCR No. G05549)
California State Prison – Corcoran
P.O. Box 8800
Corcoran, CA 93212

RE:      Melvin Parker v. N. West
         U.S. District Court, Eastern District of California, Case No. 2:22-CV-02015-CSK (PC)

Dear Mr. Puckett:

       Mr. Parker brought this lawsuit alleging that Defendant West bribed you to assault him
and purposefully removed your restraints to facilitate this assault on October 31, 2019, at
California State Prison – Sacramento. To support his allegations, Mr. Parker attached two
declarations that you authored and signed on December 11, 2019, and December 30, 2019.

       Based on the above, you have been identified as a witness with knowledge about the
events underlying Mr. Parker’s allegations. Consequently, you are being subpoenaed to attend a
deposition where you will answer questions under the penalty of perjury. If this case goes to trial,
you will likely be required to attend the trial and testify.

       Please find attached the deposition notice and subpoena for you to testify at a deposition
on October 14, 2024, at 9:00 a.m. The court reporter and I will be appearing remotely. Mr.
Parker will have the opportunity to appear remotely as well. I will be asking you questions, and
Mr. Parker may do the same.

       If you do not intend to attend this deposition, please inform me immediately of your
reasons in writing.

                                              Sincerely,

                                              /s/ Patricia M. Kealy

                                              PATRICIA M. KEALY
                                              Deputy Attorney General

                                      For     ROB BONTA
                                              Attorney General
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     Case 2:22-cv-02015-CSK          Document 66-1         Filed 01/13/25       Page 11 of 29


 1    ROB BONTA, State Bar No. 202668
      Attorney General of California
 2    JOANNA B. HOOD, State Bar No. 264078
      Supervising Deputy Attorney General
 3    PATRICIA M. KEALY, State Bar No. 348201
      Deputy Attorney General
 4     1300 I Street, Suite 125
       P.O. Box 944255
 5     Sacramento, CA 94244-2550
       Telephone: (916) 210-7366
 6     Fax: (916) 324-5205
       E-mail: Patricia.Kealy@doj.ca.gov
 7    Attorneys for Defendant N. West

 8                             IN THE UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10                                       SACRAMENTO DIVISION
11

12
      MELVIN PARKER,                                      2:22-cv-02015-CSK (PC)
13
                                             Plaintiff, NOTICE OF DEPOSITION OF INMATE-
14                                                      WITNESS DURRELL PUCKETT
                     v.
15                                                        Date:            October 14, 2024
                                                          Time:            9:00 a.m.
16    N. WEST,                                            Location:        California State Prison –
                                                                           Corcoran
17                                         Defendant.                      4001 King Ave.
                                                                           Corcoran, CA 93212
18

19

20          TO INMATE-WITNESS DURRELL PUCKETT:

21          PLEASE TAKE NOTICE that on October 14, 2024, at 9:00 a.m., counsel for Defendant

22    will take the deposition of DURRELL PUCKETT (CDCR NO. G05549) at California State

23    Prison – Corcoran (CSP – Corcoran), located at 4001 King Ave., Corcoran, CA 93212, or as soon

24    thereafter as it may be held. Pursuant to Federal Rule of Civil Procedure 30, Defendant will take

25    the deposition by oral examination before a certified shorthand reporter authorized to administer

26    oaths and who will record the deposition stenographically. The deposition may be videotaped.

27    The deposition will continue for the duration of time allowed by the Federal Rules of Civil

28    Procedure. If, for any reason, the taking of the deposition is not completed on the date specified
                                                        1
                                       Notice of Dep. of Inmate-Witness Durrell Puckett (2:22-cv-02015-CSK (PC))
     Case 2:22-cv-02015-CSK           Document 66-1           Filed 01/13/25      Page 12 of 29


 1    above, the taking of the deposition will be continued at the option of the noticing party. The

 2    deponent’s failure to attend and cooperate in this deposition may result in court-ordered

 3    sanctions.

 4          PLEASE TAKE FURTHER NOTICE that the deposition will take place via a remote

 5    video conferencing service, Zoom, with Defendant’s counsel in Sacramento, the deponent at CSP

 6    – Corcoran, and the court reporter at a Trust Point One location. Plaintiff Parker may also appear

 7    remotely.

 8          PLEASE TAKE FURTHER NOTICE that Defendant requests the deponent, DURRELL

 9    PUCKETT (CDCR NO. G05549), to produce at the deposition all documents in his possession

10    that pertain to the allegations and issues that are the subject matter of this lawsuit.

11    Dated: September 30, 2024                                Respectfully submitted,
12                                                             ROB BONTA
                                                               Attorney General of California
13                                                             JOANNA B. HOOD
                                                               Supervising Deputy Attorney General
14
                                                               /s/ Patricia M. Kealy
15
                                                               PATRICIA M. KEALY
16                                                             Deputy Attorney General
                                                               Attorneys for Defendant N. West
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                                         Notice of Dep. of Inmate-Witness Durrell Puckett (2:22-cv-02015-CSK (PC))
                 Case 2:22-cv-02015-CSK                       Document 66-1              Filed 01/13/25         Page 13 of 29
AO 88A (Rev. /) Subpoena to Testify at a Deposition in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                            for the
                                                          Eastern District
                                                       __________  Districtofof
                                                                              California
                                                                                __________

                       MELVIN PARKER                                           )
                               Plaintiff                                       )
                                  v.                                           )      Civil Action No.      2:22-cv-02015-CSK (PC)
                             N. WEST                                           )
                                                                               )
                              Defendant                                        )

                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:                                                   DURRELL PUCKET (CDCR No. G05549)

                                                       (Name of person to whom this subpoena is directed)

       ✔
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WKHVHPDWWHUV

  Place: California State Prison - Corcoran                                            Date and Time:
           4001 King Ave.                                                                                10/14/2024 9:00 am
           Corcoran, CA 93212

          The deposition will be recorded by this method:                     Stenographically and video

       ✔
       u Production: You, or your representatives, must also bring with you to the deposition the following documents,
          electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
          material: All documents in deponent's possession that pertain to the allegations and issues that are the subject
                       matter of this lawsuit.




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        09/30/2024
                                   CLERK OF COURT
                                                                                         OR
                                                                                                              /s/ Patricia M. Kealy
                                           Signature of Clerk or Deputy Clerk                                  Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)     Defendant
N. West                                                                 , who issues or requests this subpoena, are:
Patricia M. Kealy, Deputy Attorney General. Tel: (916) 210-7366. E-mail: Patricia.Kealy@doj.ca.gov.
Office of the Attorney General, 1300 I Street, Suite 125, Sacramento, CA 95814

                                 Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible things before
 trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
 whom it is directed. Fed. R. Civ. P. 45(a)(4).
                Case 2:22-cv-02015-CSK                        Document 66-1          Filed 01/13/25              Page 14 of 29
AO 88A (Rev. 2/) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 2:22-cv-02015-CSK (PC)

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any) Durrell Puckett
on (date)       09/30/2024      .

          ✔
          u I served the subpoena by delivering a copy to the named individual as follows: *SEE ATTACHED*


                                                                                     on (date)                       ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                        .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $          0.00   .


          I declare under penalty of perjury that this information is true.


Date:           09/30/2024                                                                   /s/ T. Farster
                                                                                            Server’s signature

                                                                                     T. Farster, Legal Secretary
                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
                 Case 2:22-cv-02015-CSK                          Document 66-1                 Filed 01/13/25                 Page 15 of 29
AO 88A (Rev. 2/) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                        DECLARATION OF SERVICE BY U.S. MAIL

Case Name:      Melvin Parker (AP1330) v. N. West
Case No.:       2:22-cv-02015-CSK (PC)

I declare:

I am employed in the Office of the Attorney General, which is the office of a member of the
California State Bar, at which member's direction this service is made. I am 18 years of age or
older and not a party to this matter. I am familiar with the business practice at the Office of the
Attorney General for collection and processing of correspondence for mailing with the United
States Postal Service. In accordance with that practice, correspondence placed in the internal
mail collection system at the Office of the Attorney General is deposited with the United States
Postal Service with postage thereon fully prepaid that same day in the ordinary course of
business.

On September 30, 2024, I served the attached: Letter to Durrel Puckett dated September 30,
Deposition Notice and Subpoena (A0 88A form) of Durrel Puckett by placing a true copy
thereof enclosed in a sealed envelope in the internal mail collection system at the Office of the
Attorney General at 1300 I Street, Suite 125, P.O. Box 944255, Sacramento, CA 94244-2550,
addressed as follows:

Durrell Puckett (CDCR No. G05549)
California State Prison – Corcoran
P.O. Box 8800
Corcoran, CA 93212


I declare under penalty of perjury under the laws of the State of California and the United States
of America the foregoing is true and correct and that this declaration was executed on September
30, 2024, at Sacramento, California.

                I. Martinez                                          /s/ I. Martinez
                 Declarant                                              Signature

SA2023303229
38445490.docx
Case 2:22-cv-02015-CSK   Document 66-1   Filed 01/13/25   Page 17 of 29




                     EXHIBIT B
     Case 2:22-cv-02015-CSK           Document 66-1        Filed 01/13/25      Page 18 of 29


                        DECLARATION OF SERVICE BY U.S. MAIL

Case Name:      Melvin Parker (AP1330) v. N. West
Case No.:       2:22-cv-02015-CSK (PC)

I declare:

I am employed in the Office of the Attorney General, which is the office of a member of the
California State Bar, at which member's direction this service is made. I am 18 years of age or
older and not a party to this matter. I am familiar with the business practice at the Office of the
Attorney General for collection and processing of correspondence for mailing with the United
States Postal Service. In accordance with that practice, correspondence placed in the internal
mail collection system at the Office of the Attorney General is deposited with the United States
Postal Service with postage thereon fully prepaid that same day in the ordinary course of
business.

 On October 3, 2024, I served the attached:

 NOTICE OF DEPOSITION OF INMATE-WITNESS DURRELL PUCKETT

 by placing a true copy thereof enclosed in a sealed envelope in the internal mail collection
 system at the Office of the Attorney General at 1300 I Street, Suite 125, P.O. Box 944255,
 Sacramento, CA 94244-2550, addressed as follows:


Melvin Parker, AP1330
California Health Care Facility
P.O. Box 213040
Stockton, CA 95213
In Pro Per

I declare under penalty of perjury under the laws of the State of California and the United States
of America the foregoing is true and correct and that this declaration was executed on October 3,
2024, at Sacramento, California.

                 I. Martinez                                         /s/ I. Martinez
                  Declarant                                             Signature

SA2023303229
38454092.docx
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                         EXHIBIT C
STATE OF CALIFORNIA
              Case 2:22-cv-02015-CSK Document 66-1
DEPARTMENT OF CORRECTIONS AND REHABILITATION
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                                                                                                           CDC~128B (REV. 11194)

NAME:       Puckett                       CDC#:        805549                 HOUSING:         3A03-114L


On Monday, October 14, 2024, at approximately 0845 hours, Officer J. Cervantes Moreno approached cell 114, solely occupied
by inmate Puckett, to ask him if he wanted to participate in his scheduled Confidentfal Video Call. Specifically, Officer
Cervantes Moreno presented inmate Pucket the provided Video Disposition Letter providing inmate Pucket with the details of
the call. Inmate Puckett stated, "No, J'm good," Officer Cervantes Moreno asked a second time if was sure he didn't want to
go. Inmate Puckett again stated, "No.11

Subsequently, inmate Puckett was not escorted to 3A Visiting due to this refusal to participate.




Original: Central File                                                             E Garcia
    cc: Correctional Counselor I                                                   Correctional Sergeant
          Correctional Counselor ll                                                California State Prison-Corcoran
          Inmate
          Writer



DATE:    10/14/2024                        (GENERAL INFORMATION CHRONO)                             GENERAL CHRONO
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                     EXHIBIT D
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        ~ TPOne
         Certificate of Non-Appearance of
            Durrell Anthony Puckett
                   Monday, October 14, 2024

                 Melvin Parker (AP1330) v. N. West




                                                                    www.TP.One
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                                                              Scheduling@TP.One




                         Reference Number: 146981
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  2                  FOR THE EASTERN DISTRICT OF CALIFORNIA
  3                                SACRAMENTO DIVISION
  4

  5     MELVIN PARKER,                 )
                                       )
  6                   Plaintiff,       )
                                       )
  7          vs.                       )                  Case No.:
                                       )                  2:22-cv-02015-CSK
  8     N. WEST,                       )                  (PC)
                                       )
  9                   Defendant.       )
        _______________________________)
 10

 11

 12

 13

 14            TRANSCRIPT OF PROCEEDINGS RE NONAPPEARANCE OF
 15                             VIDEOTAPED DEPOSITION OF
 16                       DURRELL ANTHONY PUCKETT, CDCR #G-05549
 17                              APPEARING REMOTELY FROM
 18                               CORCORAN, CALIFORNIA
 19                              MONDAY, OCTOBER 14, 2024
 20

 21

 22

 23       REPORTED BY:
          AMBER DAWN CASTANEDA, RPR, CRR
 24       CSR NO. 7640
          APPEARING REMOTELY FROM
 25       SAN BERNARDINO COUNTY, CALIFORNIA

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  1                       IN THE UNITED STATES DISTRICT COURT
  2                  FOR THE EASTERN DISTRICT OF CALIFORNIA
  3                               SACRAMENTO DIVISION
  4

  5     MELVIN PARKER,                 )
                                       )
  6                   Plaintiff,       )
                                       )
  7          vs.                       )                 Case No.:
                                       )                 2:22-cv-02015-CSK
  8     N. WEST,                       )                 (PC)
                                       )
  9                   Defendant.       )
        _______________________________)
 10

 11

 12

 13

 14             Transcript of Proceedings Re Nonappearance of
 15       Videotaped Remote Deposition of DURRELL ANTHONY
 16       PUCKETT, CDCR #G-05549, taken on behalf of the
 17       Defendant, commencing at 9:05 a.m., on Monday,
 18       October 14, 2024, before Amber Dawn Castaneda, RPR,
 19       CRR, CSR No. 7640, appearing remotely from
 20       San Bernardino County, California.
 21

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  1       REMOTE APPEARANCES:
  2

  3             FOR THE PLAINTIFF:
  4                       MELVIN PARKER, IN PRO PER
  5

  6             FOR THE DEFENDANT:
  7                       ATTORNEY GENERAL OF CALIFORNIA
  8                       BY:   PATRICIA M. KEALY, ESQ.
  9                       1300 I Street
 10                       Suite 125
 11                       Sacramento, California 94244-2550
 12                       (916) 210-7366
 13                       Patricia.Kealy@doj.ca.gov
 14

 15             ALSO PRESENT:
 16                       CASEY STARK, VIDEOGRAPHER
 17                       JESSIE HAWKINS, STUDENT REPORTER
 18

 19

 20

 21

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  2                              MONDAY, OCTOBER 14, 2024
  3                                      9:05 A.M.
  4

  5                       MS. KEALY:    Okay.     My name is
  6       Deputy Attorney General Patricia Kealy.                     I represent
  7       and anticipated conducting this morning's deposition
  8       on behalf of Defendant West.                  I was scheduled to
  9       take the deposition of Inmate Witness Durrell
 10       Puckett as it relates to a civil rights lawsuit
 11       brought by Mr. Melvin Parker.                 Mr. Parker's lawsuit
 12       against Defendant West is proceeding in U.S. Federal
 13       District Court for the Eastern District of
 14       California.         It is Case Number 2:22-cv-02015-CSK.
 15                       I have been informed by staff at
 16       Mr. Puckett's institution, which is California State
 17       Prison, Corcoran, that Mr. Puckett has refused to
 18       attend this morning's deposition.
 19                       And that concludes it.
 20                       We can go off the record.
 21                       THE REPORTER:     Okay.       Thank you.
 22

 23                           (Whereupon, the proceedings
 24                              concluded at 9:06 a.m.)
 25                                     ---oOo---

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  1                              REPORTER'S CERTIFICATE
  2       STATE OF CALIFORNIA                     )
  3                                               )    ss.
  4       COUNTY OF SAN BERNARDINO                )
  5

  6                       I, AMBER DAWN CASTANEDA, RPR, CRR, a
  7       Certified Shorthand Reporter within and for the
  8       County of San Bernardino, State of California, do
  9       hereby certify:
 10                       That the said Transcript of Proceedings was
 11       taken down by me in shorthand at the time and place
 12       therein stated and was thereafter reduced to print
 13       by Computer-Aided Transcription under my direction;
 14                       I further certify that I am not of counsel
 15       or attorney for any of the parties hereto or in any
 16       way interested in the event of this cause, and that
 17       I am not related to any of the parties thereto.
 18                       Dated this 14th day of October, 2024.
 19

 20

 21
                             AMBER DAWN CASTANEDA, RPR, CRR,
 22                                   CSR N.o. 7640
 23

 24

 25

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